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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

DORSETT-FELICELLI, INC., d/b/a
PYRAMIDS,PYRAMINDS PRE-SCHOOL,
INC., and MELISSA DORSETT-FELICELLI,

                              Plaintiffs,

       -against-                                            1:04-CV-01141 (LEK/RFT)


COUNTY OF CLINTON, PAULA CALKINS
LACOMBE, Individually and in her official
capacity as Director of the County of Clinton
Department ofPublic Health, and KATHERINE
O’CONNOR, individuallyand in her official
capacity as Early Intervention Official and
PreSchool Related Services Coordinator, NORTH
COUNTRY KIDS, INC., STEPHANIE GIRARD,
KELLY MCCAULEY, and MELISSA PUCHALSKI,

                              Defendants.



                         MEMORANDUM-DECISION AND ORDER

I. INTRODUCTION

       Presently before the Court is the Motion to dismiss filed by North Country Kids, Inc.,

Stephanie Girard, Kelly McCauley, and Melissa Puchalski (“Defendants”) pursuant to Federal

Rule of Civil Procedure 12(b)(1) and 12(b)(6). Memorandum of Law (Dkt. 80-4). The claim at

issue was brought under the New York common law (Amended and Supplemental Complaint,

(Dkt. 74) ¶ 1 (“Complaint”)) pursuant to the Court’s supplemental jurisdiction, asserting that

Defendant tortuously interfered with contractual relations existing between Dorsett-Felicelli, Inc.,

d/b/a Pyramids Pre-School, Inc. and Dorsett-Felicelli Inc. (“Plaintiffs”) and the County of

Clinton. Id. ¶ 90. Melissa Dorsett-Felicelli was added as a plaintiff in the present action only as
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to two claims arising under the First Amendment against the County of Clinton and two of its

employees, Paula Calkins Lacombe and Katherine O’Connor. Memorandum-Decision and Order

(Dkt. No. 73) at 48. She is not a plaintiff, however, for purposes of the tortuous interference

with a contract claim and the present Motion to dismiss. See id. For the reasons that follow,

Defendants’ Motion to dismiss is granted.

II. BACKGROUND

       Plaintiffs are providers of early intervention and preschool services under a written

agreement entered into February 5, 2003 between Plaintiffs, the County of Clinton, and the

Clinton County Department of Public Health. Early Intervention Contract, Ex. B (Dkt. No. 80-4)

(“Provider Agreement”). Under the Provider Agreement, Plaintiffs agreed to provide early

intervention services to infants and toddlers with developmental delays and disabilities. Provider

Agreement at 1. Plaintiffs would be reimbursed for providing these services by the County of

Clinton. Id. ¶ 10. The Provider Agreement can be terminated by the County upon thirty days

notice or immediately for cause. Provider Agreement ¶ 21. The Provider Agreement, while

requiring Plaintiffs to be available as a provider on a twelve month basis, does not bind Clinton

County for any specific duration. Provider Agreement at 1. Plaintiffs affirmatively concede that

the Provider Agreement remains effective between the parties. Complaint ¶ 25.

       Plaintiffs state in the Complaint that Defendants Girard, McCauley, and Puchalski were

employees of Plaintiffs prior to January 30, 2004. Complaint ¶ 30. Plaintiffs alleged that on

January 30, 2004 they gave Plaintiffs thirty days notice of their anticipated resignation from their

positions and effectively left the employment on February 13, 2004. Id. ¶ 32–33. Plaintiffs also

allege that Defendants Girard, McCauley, and Puchalski were awaiting final approval of their

own business from the Clinton County Legislature at the time of their resignation, to be known as
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North Country Kids, Inc., to serve as an early intervention service provider. Id. at 34. Plaintiffs

assert that once approval was granted Clinton County began assigning provider sessions

previously handled by Plaintiffs to North Country Kids, Inc. Id. ¶ 41, 47.

        Plaintiffs allege that Defendants Puchalski, McCauley, and Girard strategically set their

termination date so it was possible to have students to whom they provided services transferred

to Plaintiff’s employees at North Country Kids, Inc. Id. ¶ 32. Plaintiffs also assert that

Defendants had knowledge of the existence of the Provider Agreement. Id. ¶ 66.

        Plaintiffs further allege North Country Kids, Inc. is not a multi-service provider, as

required under applicable New York state regulations, and has thus entered into a subcontracting

agreement with Teddy Bear, Inc. (the only other agency providing pre-school services in the

Clinton County district) whereby North Country Kids, Inc.’s teachers provide services to students

referred by Clinton County to Teddy Bear Inc. Id. ¶ 49–51. Plaintiffs contend that this

subcontracting agreement allows Clinton County to refer sessions to North Country Kids, Inc.

through Teddy Bear, Inc. Id. ¶ 51.

        In addition to the claim at issue in this Motion to dismiss, Plaintiffs also brought a First

Amendment claim against Clinton County. Id. ¶ 86. Plaintiffs assert that session hours were

transferred away from Plaintiffs to North Country Kids Inc. in retaliation for Plaintiffs’

complaints that Clinton County was giving independent contractor status to individual service

providers. Id. at 28. Plaintiffs also claim that Clinton County, Defendants Puchalski, McCauley,

Girard, and two county employees expedited the vote to approve North Country Kids, Inc. as an

early intervention provider so the sessions assigned to Defendants Puchalski, McCauley and

Girard while employed by Plaintiffs could be transferred to them at North Country Kids, Inc. Id.

¶ 36.
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        Plaintiff Pyramids Preschool, Inc. filed a voluntary petition for Chapter 11 bankruptcy

during the pendency of this case. Voluntary Petition, Ex. A (Dkt. 80-3) (“Bankruptcy Petition”);

Henry Aff. (Dkt. No. 80-2) ¶ 5. Plaintiffs’ petition for bankruptcy does not list the present

action as an asset of the estate. Henry Aff. (Dkt. 58-2) ¶ 7.

III. DISCUSSION

        A. Standard of Review

        In reviewing a complaint on a motion to dismiss pursuant to Rule 12(b)(6), the facts

stated in the complaint must be accepted as true, and all reasonable inferences from those facts

are to be drawn in the plaintiff’s favor. In re NYSE Specialists Sec. Litig., 503 F.3d 89, 91 (2d

Cir. 2007). The court assumes the truth of only the plaintiff’s well-pleaded facts—legal

conclusions are not afforded the same treatment. Ashcroft v. Iqbal, __ U.S.__, 129 S. Ct. 1937,

1949 (2009). For the complaint to survive a motion to dismiss, “the complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Id. (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Facial plausibility

exists “when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. Plausibility requires more

than just a “sheer possibility that a defendant has acted unlawfully.” Id.

        Thus, in reviewing a complaint on a motion to dismiss pursuant to Rule 12(b)(6), the

court’s analysis consists of two prongs: First, the court “begin[s] by identifying pleadings that,

because they are no more than conclusions, are not entitled to the assumption of truth.” Id. at

1950. Second, as to a plaintiff’s well-pleaded factual allegations, the court will “assume their

veracity and then determine whether they plausibly give rise to an entitlement to relief.” Id. This

determination is “a context-specific task that requires the reviewing court to draw on its judicial
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experience and common sense.” Id. (citation omitted).

               1. Tortuous Interference With Contractual Relations Claim

       To state a claim for relief for tortuous interference with contractual relations under New

York law, a plaintiff must allege: (1) the existence of a valid contract between plaintiff and a

third party, (2) defendant’s knowledge of that contract, (3) defendant’s intentional and improper

procuring of a breach of that contract, and (4) damages incurred by the plaintiff. White Plains

Coat & Apron Co., Inc. v. Cintas Corp., 8 N.Y.3d 422, 426 (2007); Kronos, Inc. v. AVX Corp.,

81 N.Y.2d 90, 94 (1993). “Deliberate interference with plaintiff’s contractual rights that causes

damage” is not enough to succeed on a tortuous interference with contractual relations

claim—actual breach of contract is required under New York law. NBT Bancorp Inc. v.

Fleet/Norstar Financial Group, Inc., 87 N.Y.2d 614, 620–21 (1996); See also Kronos, Inc., 81

N.Y.2d at 94. Thus, in order to survive a motion to dismiss under Rule 12(b)(6), sufficient facts

must be plead in the complaint to support the conclusion that the contract was actually breached,

not only that damages have resulted due to a defendant’s interference. See NBT Bancorp Inc., 87

N.Y.2d at 620–21.

       The element at issue in the present Motion to dismiss is whether the facts alleged in the

Complaint are sufficient to support a finding that there was an actual breach of the Provider

Agreement. Under New York law, a breach of contract occurs where a party fails “‘to perform

its obligations under a valid and binding contract.’” Ez-Tixz, Inc. v. Hit-Tix, 969 F. Supp. 220,

225 (S.D.N.Y. 1997) (quoting Custom Imports, Inc. v. Hanmee Trading Co., Inc., 569 F. Supp.

1126, 1130 (S.D.N.Y. 1984); Manufacturers and Traders Trust Co. v. Cottrell, 71 A.D.2d 538,

543 (4th Dep’t 1979) (citing Wegman v. Dairylea Co-op., Inc., 50 A.D.2d 108, 113 (4th Dep’t
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1975).

         Plaintiffs have alleged a reduction in the number of sessions being referred by Clinton

County and thus a consequent loss in revenue. See Complaint ¶ 41–44, 72, 76, 81–83. Plaintiffs

have failed, however, to allege how Defendants have failed to perform under the Provider

Agreement. A reduction in the number of sessions being referred by Clinton County is not a

failure of performance under the agreement; the Provider Agreement does not impose a duty

upon Clinton County to keep the number of referrals constant, nor is there any provision that

indicates a minimum number of session hours to be referred to Plaintiffs. Similarly, nothing in

the Provider Agreement indicates exclusivity—no facts have been alleged indicating that Clinton

County contracted away the right to enter into similar provider agreements with other parties or

that Plaintiff relied on such a promise when entering the agreement. Absent any factual

allegations of a connection between the reduction in session hours and a failure of Defendants to

perform under the Provider Agreement, Plaintiff has failed to allege facts that would allow a

finding of actual breach of the Provider Agreement.

         Further, a terminable at will contract cannot form the basis of tort liability under New

York law. AIM Intern. Trading, L.L.C. v. Valcucine S.P.A., Case No. 02 Civ 1363, 2003 WL

21203503 at *5 (S.D.N.Y. May 22, 2003) (citing Guard-Life Corp. v. S. Parker Hardware Mfg.

Corp., 50 N.Y.2d 183 (1980)); See, e.g., Discover Group, Inc. v. Lexmark Intern., Inc., 333 F.

Supp. 2d 78, 85–86 (E.D.N.Y. 2004) (stating “[b]ecause contracts terminable-at-will may not

form the basis of a tortious interference with contract claim in New York, this claim must be

dismissed.”). The essential element of breach of contract is absent when a contract is terminable

at will. Id. The relationship between the parties of a contract terminable at will can be classified

as one of prospective contractual relations; the interest one possesses under a contract terminable
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at will is merely an expectancy interest and therefore cannot be enforced. Guard-Life Corp., 50

N.Y. 2d at 193; Waste Service, Inc. v. Jamaica Ash & Rubbish Removal Co., Inc., 262 A.D.2d

401, 402 (2d Dep’t 1999); See also NBT Bancorp, 87 N.Y.2d at 622 (stating that such an

expectancy interest is “not entitled to the same protection that would have been accorded a

legally enforceable right to performance under the agreement”); Havana Central NY2 LLC v.

Lunney’s Pub, Inc., 49 A.D.3d 70, 79 (1st Dep’t 2007) (explaining that “a valid cause of action

for tortious interference with contract [cannot] be stated . . . if the plaintiff has no legally

enforceable right to performance under the agreement.”). A contract without fixed duration is

terminable at will unless the parties expressly provide that it be perpetual. Compania

Emotelladora Del Pacifico, S.A. v. Pepsi Cola Co., 607 F.Supp.2d 600, 603 (S.D.N.Y. 2009)

(citing Warner-Lambert Pharm. Co. v. John J. Reynolds, Inc., 178 F.Supp. 655, 661 (S.D.N.Y.

1959)); See also Ketcham v. Hall Syndicate, Inc., 37 Misc.2d 693, 699 (N.Y. Sup. Ct. 1962)

(stating “absent a fixed or determinable duration or an express provision that the duration is

perpetual, the contract is one terminable at will.”).

        The Provider Agreement may be terminated by Clinton County upon thirty days written

notice to the provider or may be terminated immediately for cause. Complaint ¶ 24; Provider

Agreement ¶ 21. The parties have not expressly stated an intention that the agreement be

perpetual and Clinton County has not bound itself as a party to the Provider Agreement for any

period of time. Since the Provider Agreement can be classified as a terminable at will contract,

the interest that Plaintiffs possess under the Provider Agreement is merely an expectancy. The

Court therefore finds that the Provided Agreement cannot form the basis of a tortuous

interference with a contract claim.

        B. Implications of Bankruptcy Proceeding
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        After filing for bankruptcy, a debtor cannot later pursue a claim unless it was “dealt with”

in the bankruptcy action or abandoned by the trustee. Dynamics Corp. of America v. Marine

Midland Bank-New York, 69 N.Y.2d 191, 195–96 (1987); 123 Cutting Co. v. Topcove Assocs.,

Inc., 2 A.D.3d 606 (2d Dep’t 2003). Property is “dealt with” when it is listed in the schedule of

assets and is abandoned where the trustee knows of it and manifests and intent to abandon.

Dynamics Corp. of America, 69 N.Y.2d at 196. In order for the trustee to formally abandon the

claims, the bankrupt must schedule the cause of action as an asset when filing the petition for

bankruptcy. Bromley v. Fleet Bank, 240 A.D.2d 611, 611 (2d Dep’t 1997); See also Robinson v.

J.A. Wiertel Const., 185 A.D.2d 664, 665 (4th Dep’t 1992) (stating “[i]f a debtor fails to

schedule an asset, the asset cannot be ‘dealt with’ during the bankruptcy and, therefore, title to

the asset remains in the bankruptcy estate.”). Additionally, “actual knowledge by the trustee of a

claim is no substitute for improper scheduling.” Burton v. 215 East 77th Associates, 284 A.D.2d

122 (1st Dep’t 2001); Donaldson, Lufkin & Jenrette Securities Corp. v. Mathiasen, 207 A.D.2d

280, 282 (1st Dep’t 1994); see also Bromley, 240 A.D.2d at 612.

        Plaintiffs failed to list the present cause of action as an asset in its schedule of assets

when it filed its Bankruptcy Petition. See Bankruptcy Petition at 16–20. Because of this failure

to list the claim as an asset, the property was not “dealt with” during the bankruptcy proceeding

and Plaintiffs therefore lost the ability to pursue this claim. Although the bankruptcy trustee and

Plaintiffs’ creditors may have had actual knowledge of the existence of this claim, see

Memorandum-Decision and Order (Dkt. No. 73) at 22–26, under the applicable case law, this

does not excuse the failure of Plaintiffs to properly schedule it as an asset in the Bankruptcy

Petition.

IV. Conclusion
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For the foregoing reasons, it is:

          ORDERED, that Defendants’ Motion to Dismiss (Dkt. No. 80) is GRANTED; and it is

further

          ORDERED, that Plaintiffs’ Amended and Supplemental Complaint (Dkt. No. 74) is

DISMISSED, without prejudice, consistent with this Memorandum-Decision and Order; and it

is further

          ORDERED, that the Clerk serve a copy of this Order on the parties.

IT IS SO ORDERED.

DATED:           March 22, 2011
                 Albany, New York
